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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

     CHRISTOPHER E. DORWORTH,
          Plaintiff,
     v.
     JOEL MICAH GREENBERG, ANDREW                      Case No.: 6:23-CV-00871
     W. GREENBERG, SUE GREENBERG,
     ABBY GREENBERG, AWG, INC.,
     GREENBERG DENTAL ASSOCIATES,
     LLC, GREENBERG DENTAL &
     ORTHODONTICS, P.A., GREENBERG
     DENTAL SPECIALTY GROUP, LLC,
     and A.B.,
          Defendants.




     PLAINTIFF’S RESPONSE IN OPPOSITION TO MOTION FOR LEAVE
                        TO REPLY [DOC 106]

          Plaintiff Christopher Dorworth opposes the Motion for Leave to Reply filed

 by Defendants Andrew Greenberg, Sue Greenberg, and AWG, Inc., and states as

 follows:

          “[M]otions for leave to file a reply are not typically granted. Indeed, replies

 or any other pleading directed to the motion are disfavored.” Regions Bank v.

 Hyman, 09–cv–1841, 2013 WL 12166237 at *1 (M.D. Fla. August 26, 2013).1

 1
   Although Defendants address other legal issues they wish to address in a reply in their Motion,
 they do not address the fact that replies are disfavored.
                                                 1
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 Contrary to Defendants’ suggestion, Plaintiff has not attempted to offer extraneous

 evidence in support of a motion to dismiss. Nor does Plaintiff seek to have the

 motion decided as a motion for summary judgment. Rather, it appears Defendants

 seek to have “one more attempt to have one more say,” which is prohibited by Local

 Rule 3.01(d). Id.

        When placed in context, the language in Plaintiff’s opposition is in direct

 response to Defendants’ arguments that Plaintiff’s Amended Complaint is

 speculative or without basis. See e.g. Doc. 77, Page 3. Plaintiff is not asking the

 Court to consider extraneous evidence in evaluating whether the Amended

 Complaint states a claim. Plaintiff is merely showing a legitimate basis for his

 assertions, as confirmed in admissions from and documents produced by

 Defendants. This is the reason that Plaintiff made limited to reference to the fact that

 he has confirmed his allegations.2 This should not be a surprise to Defendants or

 require further briefing. In sum, Plaintiff is not asking the Court to consider

 extraneous evidence or convert the pleading to a motion for summary judgment. (In

 this respect, the parties agree.) He was simply responding to Defendants’ assertions

 that Plaintiff’s Amended Complaint was speculative. Because the Court need not


 2
   Moreover, Plaintiff is cognizant of the Court’s prior orders denying relief in the absence of good
 cause shown. See, e.g., Docket Nos. 78, 105. Should the Court find the Amended Complaint
 deficient in any respect, Plaintiff would like the opportunity to replead. Plaintiff does not wish to
 find himself in a circumstance in which the Court finds amendment is unwarranted due to
 Plaintiff’s failure to set forth good cause, i.e., failure to demonstrate Plaintiff can plead additional
 facts supporting the requested relief.
                                                    2
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 consider matters outside the Complaint in ruling on the substance of Defendants’

 motion to dismiss, there is no need for Defendants to submit a reply.

        There is even less reason for Defendants to address other matters. For

 example, the Motion asserts that Plaintiff’s response claims the Greenbergs recruited

 A.B.’s friend. Motion at 2. This is not what the response says. Doc. 100 at 5 n.5

 (“Nor is the fact that A.B. recruited a friend . . . “) This issue was raised in the

 Motion, which cited the allegation of the Complaint, which stands. Doc 77, Page 6,

 citing Complaint ¶ 120. Nor is Plaintiff’s explanation that “late Summer” would

 refer to activity after August 19, 2020, less than two thirds of the way through the

 Summer, an “attempt[] to add specific dates to otherwise unclear time frames, id. at

 6 n.8.” Motion at 2. This is simply Plaintiff’s response to Defendant’s

 mischaracterization of the pleading. Response at 4-6. Finally, Defendants

 inexplicably take issue with Plaintiff agreeing that incorporation of other documents

 can be disregarded, even though this is presumably the relief they seek from that

 objection. Plaintiff does not wish to “amend by response,” he merely responded to

 Defendants’ Motion to Dismiss.3

        Plaintiff is already disadvantaged in responding to Defendants’ 25-page

 Motion with only a 20 page Response. See Local Rule 3.01(a) and (b). If Defendants



 3
   Plaintiff has been more than clear that if any amendment is required, he will amend the pleading
 in the conventional manner.
                                                 3
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 are allowed a reply, then the Defendants will have a nearly two-to-one page

 advantage over Plaintiff (Defendants’ 35 pages vs Plaintiff’s 20 pages).

       Lastly, it is not clear why Defendants are moving at this time. The Court

 granted Plaintiff’s extension to respond to Defendants’ Motion. (Doc. 103)

       WHEREFORE, Plaintiff Christopher Dorworth respectfully requests the

 Court deny Defendants’ Motion for Leave to Reply and order such further relief the

 Court finds just and proper.

 Filed: October 3, 2023.                       Respectfully Submitted,

                                               /s/Michael Paul Beltran
                                               Michael P Beltran
                                               Fla. Bar No. 0093184
                                               Beltran Litigation, P.A.
                                               4920 West Cypress St.
                                               Suite 104 PMB 5089
                                               Tampa, FL 33607
                                               813-870-3073 (o)
                                               mike@beltranlitigation.com
                                               Counsel for Plaintiff Dorworth

                           CERTIFICATE OF SERVICE

        I will file a copy of the foregoing on the Court’s electronic system, which
 will send a copy to all counsel of record.
                                                 /s/Michael Paul Beltran
                                                 Michael P Beltran




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